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Patrick J. Neligan, Jr.
State Bar. No. 14866000
Douglas J. Buncher
State Bar No. 03342700
John D. Gaither
State Bar No. 24055516
NELIGAN LLP
325 North St. Paul, Suite 3600
Dallas, Texas 75201
Telephone: 214-840-5333
Facsimile: 214-840-5301
pneligan@neliganlaw.com
dbuncher@neliganlaw.com
jgaither@neliganlaw.com

PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
          DEBTORS1                                §                Jointly Administered




                                      MASTER SERVICE LIST
                                       (as of February 9, 2021)




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel


 National Rifle Association of America          Neligan LLP
 11250 Waples Mill Road                         Attn: Patrick J. Neligan
 Fairfax, VA 22030                                      Douglas J. Buncher
                                                        John D. Gaither
                                                325 N. St. Paul, Suite 3600
                                                Dallas, TX 75201
                                                Email: pneligan@neliganlaw.com
                                                        dbuncher@neliganlaw.com
                                                        jgaither@neliganlaw.com
 Sea Girt LLC
 11250 Waples Mall Road
 Fairfax, VA 22030

                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com

                               20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
 1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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 Gould Paper Corporation                        Infocision Management Corp.
 Attn: Warren Connor                            325 Springside Drive
 99 Park Avenue, 10th Floor                     Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                               Valtim Incorporated
 201 N. Union Street, Suite 510                 P.O. Box 114
 Alexandria, VA 22314                           Forest, VA 24551

 Quadgraphics                                   Communications Corp of America
 N63W23075 Hwy. 74                              Attn: Ken Bentley
 Sussex, WI 53089                               13129 Airpark Drive, Suite 120
                                                Elkwood, VA 22718

 Membership Advisors Public REL                 Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                              San Francisco, CA 94105

 Mercury Group                                  Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100                 P.O. Box 600
 Oklahoma City, OK 73118                        Concord, NC 28026

 Image Direct Group LLC                         Google
 200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
 105 Commerce Drive                             P.O. Box 75723
 Aston, PA 19014                                Chicago, IL 60675

                                      Government Agencies


 Internal Revenue Service                       Office of Attorney General (NY)
 P.O. Box 7346                                  Attn: Letitia James
 Philadelphia, PA 19101-7346                    28 Liberty Street
                                                New York, NY 10005




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 Office of Attorney General (DC)             Office of Attorney General (TX)
 Attn: Karl A. Racine                        Attn: Ken Paxton
 441 Fourth St., N.W., Suite 600-South       P.O. Box 12548
 Washington, DC 20001                        Austin, TX 78711-2548

 Mahmooth A. Faheem
 Lori A. Butler
 Pension Benefit Guaranty Corporation
 1200 K NW
 Washington, DC 20005-4026
 mahmooth.faheem@pbgc.gov
 butler.lori@pbgc.gov
 efile@pbgc.gov

                                   Notice of Appearance


 Laurie A. Spindler                          G. Michael Gruber
 Linebarger Coggan Blair & Sampson, LLP      Dorsey & Whitney LLP
 2777 N. Stemmons Freeway, Suite 1000        300 Crescent Court, Suite 400
 Dallas, TX 75207                            Dallas, TX 75201
 dallas.bankruptcy@publicans.com             gruber.mike@dorsey.com

 Brian E. Mason                              H. Joseph Acosta
 Dorsey & Whitney LLP                        Dorsey & Whitney LLP
 300 Crescent Court, Suite 400               300 Crescent Court, Suite 400
 Dallas, TX 75201                            Dallas, TX 75201
 mason.brian@dorsey.com                      acosta.joseph@dorsey.com

 Natalie L. Arbaugh                          Thomas M. Buchanan
 Winston & Strawn LLP                        Matthew Saxon
 2121 N. Pearl Street, Suite 900             Winston & Strawn LLP
 Dallas, TX 75201                            1901 L St., N.W.
 narbaugh@winston.com                        Washington, DC 20036
                                             tbuchana@winston.com
                                             msaxon@winston.com

 David Neier                                 Tara LeDay
 Winston & Strawn LLP                        McCreary, Veselka, Bragg & Allen, P.C.
 200 Park Avenue                             P.O. Box 1269
 New York, NY 10166-4193                     Round Rock, TX 78680
 dneier@winston.com                          tleday@mvbalaw.com




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 Michael I. Baird                         Brandon R. Freud
 Pension Benefit Guaranty Corporation     Chuhak & Tecson, P.C.
 1200 K St. NW                            30 S. Wacker Drive, Suite 2600
 Washington, DC 20005-4026                Chicago, IL 60606
 baird.michael@pbgc.gov                   bfreud@chuhak.com
 efile@pbgc.gov

 Mark Ralston                             Kevin T. White
 Fishman Jackson Ronquillo PLLC           Director – Legal
 Three Galleria Tower                     Quad/Graphics, Inc.
 13155 Noel Road, Suite 700               601 Silveron Blvd., Suite 200
 Dallas, TX 75240                         Flower Mound, TX 75028
 mralston@fjrpllc.com                     ktwhite@quad.com

 Robert Lapowsky                          David W. Giattino
 Stevens & Lee, P.C.                      Stevens & Lee, P.C.
 620 Freedom Business Center, Suite 200   919 Market Street, Suite 1300
 King of Prussia, PA 19406                Wilmington, DE 19801
 rl@stevenslee.com                        dwg@stevenslee.com

 Joe E. Marshall                          Duane M. Geck
 Marshall Law                             Donald H. Cram
 2626 Cole Avenue, Suite 300              Severson & Werson, P.C.
 Dallas, TX 75204                         One Embarcadero Center, Suite 2600
 jmarshall@marshalllaw.net                San Francisco, CA 94111
                                          dmg@severson.com
                                          dhc@severson.com

 M. Jermaine Watson
 Joshua N. Eppich
 H. Brandon Jones
 Clay M. Taylor
 J. Robertson Clarke
 Bonds Ellis Eppich Schafer Jones LLP
 420 Throckmorton Street, Suite 1000
 Fort Worth, TX 76102
 jermaine.watson@bondsellis.com
 joshua@bondsellis.com
 clay.taylor@bondsellis.com
 brandon@bondsellis.com
 robbie.clarke@bondsellis.com




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